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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-00661-RMR-KAS

  BENNETTA GREEN, individually and on behalf
  of all others similarly situated,

         Plaintiff,
  v.

  PILGRIM’S PRIDE CORPORATION,

       Defendant.
  ______________________________________________________________________

  JOINT MOTION TO STAY CASE PENDING ALTERNATIVE DISPUTE RESOLUTION
  ______________________________________________________________________

         Plaintiff Bennetta Green (“Plaintiff”) and Defendant Pilgrim’s Pride Corporation

  (“Defendant”) (together, the “Parties”), through their respective counsel and pursuant to

  D.C.COLO.LCivR 16.6(a), submit this Joint Motion to Stay Case Pending Alternative

  Dispute Resolution and in support state as follows:

         1.      Pursuant to D.C.COLO.LCivR 7.1, the Parties have conferred about this

  motion and agree to the relief requested herein. The Parties agree this case is positioned

  for alternative dispute resolution, and the requested relief is in keeping with the interests

  of judicial economy.

         2.      Plaintiff initiated this proposed collective action on March 14, 2023, pursuant

  to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219, [Doc. 1], and filed a First

  Amended Collective Action Complaint on April 24, 2023, [Doc. 19]. Plaintiff claims that

  Defendant misclassified Plaintiff and similarly situated employees as exempt under the

  FLSA and failed to properly compensate them for overtime hours worked.
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         3.     Plaintiff seeks to certify a collective action at Defendant’s production facility

  in Elberton, Georgia (the “Elberton Facility” is located at 1129 Old Middleton Road,

  Elberton, Georgia). Thus far, one individual, Cody Mantia, who also worked at the

  Elberton Facility, has consented to join the case as an opt-in plaintiff. [Doc. 2].

         4.     On July 5, 2023, the Court entered a Scheduling Order. [Doc. 36]. The

  Scheduling Order bifurcated discovery and authorized a two-step process for determining

  whether putative collective action members are similarly situated for certification. The

  Scheduling Order committed the Parties to “inform the Court when and if it appears to

  both parties that this case is suitable for mediation.” Id. at ¶ 6(h).

         5.     The Parties have completed Phase I discovery pursuant to the Court’s

  Scheduling Order. Following Phase I discovery, the Parties stipulated to conditional

  certification of a collective action under 29 U.S.C. § 216(b) comprised of Production

  Superintendents working at the Elberton Facility. Accordingly, they signed a Joint

  Stipulation Regarding Conditional Certification. [See Doc. 44-1].

         6.     On March 25, 2024, the Court granted the Parties’ Joint Motion to Extend

  Deadline to File Proposed Amended Scheduling Order. [Doc. 47]. The Court directed the

  Parties to either file a Proposed Amended Scheduling Order or notify the Court that they

  have agreed to mediation by April 15, 2024. Id. On that date, the Parties notified the Court

  they agreed to mediation. [Doc. 50].

         7.     The Parties agree that a settlement conference before a private mediator

  may resolve this action. Therefore, the Parties request this stay to pursue alternative

  dispute resolution under D.C.COLO.LCivR 16.6(a). That rule provides in part: “To


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  facilitate settlement or resolution of the suit, the district judge or a magistrate judge

  exercising consent jurisdiction may stay the action in whole or in part during a time certain

  or until further order.” See also Landis v. North American Co., 299 U.S. 248, 254-55

  (1936) (recognizing that the power to stay “is incidental to the power inherent in every

  court to control the disposition of the causes on its docket with economy of time and effort

  for itself, for counsel, and for litigants”).

         8.      The Parties believe, given their agreement to explore resolution through

  alternative dispute resolution, a stay of this action is in their best interests to avoid

  potentially unnecessary litigation expenses should mediation be successful in securing

  settlement. The Parties further believe a stay of the case pending alternative dispute

  resolution will be in the interests of judicial economy given their anticipated deadlines (yet

  to be set) for Plaintiff to file a motion for conditional certification and for the Parties to

  complete Phase I discovery.

         9.      The Parties have selected a mediator and, subject to the mediator’s

  availability, are discussing potential dates for mediation following informal pre-mediation

  discovery. The Parties agree a stay of the case shall include a stay of all upcoming

  deadlines. The Parties agree they will file a joint notice of settlement, if mediation is

  successful, or status report, should the matter not be resolved, within thirty (30) days of

  their mediation.

         WHEREFORE, Plaintiff and Defendant respectfully request the Court stay this

  action pending alternative dispute resolution pursuant to D.C.COLO.LCivR 16.6(a) and




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  order the Parties to notify the Court of the result of mediation within thirty (30) days of its

  completion.


  Dated: April 25, 2024


    s/ Ricardo J. Prieto                            s/ Joseph H. Hunt
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                                CERTIFICATE OF SERVICE

        I certify that on April 25, 2024, I electronically filed the foregoing with the Clerk of

  the Court using the CM/ECF system, which will send notification of such filing to all

  counsel of record.

                                                           s/ Joseph H. Hunt




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